            Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 1 of 18




 1                                                              The Honorable Judge Bryan
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 6
 7
 8                             UNITED STATES DISTRICT COURT
 9                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
10
11   UGOCHUKWU GOODLUCK
     NWAUZOR and FERNANDO                      Case No: 3:17-cv-05769-RJB
12
     AGUIRRE-URBINA, individually and on
13   behalf of all those similarly situated,   REPLY IN SUPPORT OF GEO’S MOTION
                                               TO DISMISS PLAINTIFFS’ FIRST
14                                             AMENDED COMPLAINT
       Plaintiff and counter-defendant,
15                          v.
                                               NOTE ON MOTION CALENDAR:
16   THE GEO GROUP, INC., a Florida            July 20, 2018
17   corporation,
                                               ORAL ARGUMENT REQUESTED
18      Defendant and counter-plaintiff.
19
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28   NWAUZOR et al. v. THE GEO GROUP, INC.                             III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                  Joan K. Mell
     REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST      1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                       Fircrest, WA 98466
                                                                              253-566-2510 ph
                                                                          joan@3brancheslaw.com
                Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 2 of 18




 1                                            TABLE OF CONTENTS
 2                                                                                                                                Page
 3 TABLE OF AUTHORITIES..............................................................................................ii
 4 ARGUMENT .....................................................................................................................1
 5 I.  THE COURT LACKS SUBJECT MATTER JURISDICTION .............................1
 6             A.        GEO’s Yearsley Defense Is Proper Under Rule 12(b)(1) ............................1

 7             B.        GEO Is Immune From This Suit Under Yearsley. .......................................2
                         1.       Plaintiffs Fail To Show That GEO’s Actions Are
 8
                                  Unauthorized .....................................................................................5
 9                       2.       Plaintiffs Fail To Show That GEO’s Authorization Was
10                                Invalid ...............................................................................................8
11 II.         GEO’S REMAINING ARGUMENTS DESERVE CONSIDERATION .............10
12             A.        GEO’s Defenses Are Not Barred By Law Of The Case ............................10

13             B.        Plaintiffs’ Claim Is Preempted ..................................................................11
               C.        Plaintiffs have Stated No Claim Under The MWA ...................................11
14
               D.        ICE Is Indispensable To This Case ............................................................12
15
     CONCLUSION ................................................................................................................12
16
17
18
19
20
21
22
23
24
25
26
27   NWAUZOR et al. v. THE GEO GROUP, INC.                                                                  III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                                                       Joan K. Mell
28   REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST                                           1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                                                            Fircrest, WA 98466
                                       i                                                                           253-566-2510 ph
                                                                                                               joan@3brancheslaw.com
               Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 3 of 18




 1                                                  TABLE OF AUTHORITIES
 2                                                                                                                                      Page(s)
 3
     CASES:
 4
       Barnes v. Sea Hawaii Rafting, LLC, 889 F.3d 517 (9th Cir. 2018) ..........................................10
 5
 6     Cabalce v. Thomas E. Blanchard & Assocs., Inc., 797 F.3d 720 (9th Cir. 2015) ......................7

 7     Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663 (2016) ................................................3, 7, 8, 10
 8
       Cunningham v. Gen. Dynamics Info. Tech., 888 F.3d 640 (4th Cir. 2018) ..........2, 3, 4, 5, 7, 10
 9
       EEOC v. Peabody Western Coal Co., 610 F.3d 1070 (9th Cir. 2010)......................................12
10
11     Janis v. United States, 2011 WL 4738315 (E.D. Cal. Oct. 6, 2011) ........................................10

12     Moses H. Cone Mem. ’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1 (1983)..........................10
13
       Paradise Orchards Gen. P’ship v. Fearing, 94 P.3d 372 (Wash. App. 2004) ...........................2
14
       Rezek v. City of Tustin, 2014 WL 3347860 (C.D. Cal. July 3, 2014) .......................................11
15
16     Salim v. Mitchell, 268 F. Supp. 3d 1132 (E.D. Wash. 2017) ......................................................8

17     Tam v. United States, 905 F. Supp. 2d 1221 (W.D. Wash. 2012) ..........................................1, 2
18
     STATUTES:
19
       Dep’t of Justice Appropriations Act, 1979, Pub. L. No. 95-431, 92 Stat 1021
20        (Oct. 10, 1978) ......................................................................................................................9
21
       Dep’t of Justice Appropriations Act, 1980, Pub. L. No. 96-132, 93 Stat. 1040
22        (Nov. 30, 1979) .................................................................................................................4, 9
23     6 U.S.C. § 251 .............................................................................................................................3
24
       6 U.S.C. § 551 .............................................................................................................................3
25
26     8 U.S.C. § 1231 ...........................................................................................................................4

27   NWAUZOR et al. v. THE GEO GROUP, INC.                                                                         III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                                                              Joan K. Mell
28   REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST                                                  1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                                                                   Fircrest, WA 98466
                                      ii                                                                                  253-566-2510 ph
                                                                                                                      joan@3brancheslaw.com
               Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 4 of 18




 1     8 U.S.C. § 1324a .......................................................................................................................11
 2     8 U.S.C. § 1555 .............................................................................................................4, 5, 9, 11
 3
     REGULATIONS AND ADMINISTRATIVE MATERIALS:
 4
       8 C.F.R. § 274a.14 ....................................................................................................................11
 5
 6     8 C.F.R. § 1001.1 ......................................................................................................................11
 7 RULES:
 8
       Fed. R. Civ. P. 12 ....................................................................................................................1, 2
 9
       Fed. R. Civ. P. 54 ......................................................................................................................11
10
11 OTHER AUTHORITIES:
12     DHS Management Directive 3120.2, Employment of Non-Citizens (Mar. 22,
13       2004) ...................................................................................................................................12

14     Exec. Order No. 11935, 41 Fed. Reg. 37,301 (Sept. 2, 1976) ..................................................12
15     Performance-Based Nat’l Detention Standards (2011).............................................3, 6, 7, 8, 10
16
       Reorganization Plan Modification For The Dep’t Of Homeland Sec., H.R.
17        Doc. No. 108-32 (2003) ........................................................................................................3
18
19
20
21
22
23
24
25
26
27   NWAUZOR et al. v. THE GEO GROUP, INC.                                                                         III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                                                              Joan K. Mell
28   REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST                                                  1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                                                                   Fircrest, WA 98466
                                      iii                                                                                 253-566-2510 ph
                                                                                                                      joan@3brancheslaw.com
             Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 5 of 18




 1          The GEO Group, Inc. (“GEO”) offers this reply supporting its Motion to Dismiss
 2 Plaintiffs’ First Amended Complaint (“Motion” or “Mot.”). Plaintiffs have failed to explain why
 3
     the Court has jurisdiction over this challenge to GEO’s administration of the Voluntary Work
 4
     Program (“VWP”), a program created and authorized by U.S. Immigration and Customs
 5
 6 Enforcement (“ICE”). Plaintiffs also fail to oppose GEO’s other grounds for dismissal.
 7 I.       THE COURT LACKS SUBJECT MATTER JURISDICTION.
 8
            A.      GEO’s Yearsley Defense Is Proper Under Rule 12(b)(1).
 9
            At the start of their Opposition (“Opp.”) to GEO’s Motion, Plaintiffs argue that this Court
10
11 must treat GEO’s motion to dismiss for derivative immunity as a motion for summary judgment.
12 Opp., 5-7. Rule 12 requires a court to dismiss any case over which it lacks subject matter
13 jurisdiction. Fed. R. Civ. P. 12(b)(1), (h)(3). While a complaint may show on its face that
14
     subject matter jurisdiction is absent, a defendant may adduce facts to do the same. See, e.g., Tam
15
     v. United States, 905 F. Supp. 2d 1221, 1226-27 (W.D. Wash. 2012).
16
17          Courts in this district have dismissed claims under Rule 12(b)(1) when the defendant’s

18 evidence showed it was immune from suit. In Tam, the court dismissed a claim against the
19
     United States Forest Service (“USFS”). There, the plaintiffs alleged that USFS could be sued
20
     under the Federal Tort Claims Act (“FTCA”), while USFS claimed it was immune under the
21
22 FTCA’s discretionary function exemption. Id. at 1226-29. To decide the issue, the court relied
23 on not only the statutes and regulations that controlled USFS’s actions but also its own internal
24 documents relating to the claim. See id. at 1229; 1232-33 (discussing exhibits detailing the
25
     agency’s processes). Because this evidence showed that USFS’s actions fell within the FTCA
26
27 exemption, the court dismissed the claim under 12(b)(1) on immunity grounds. Id. at 1235.
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                      III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                           Joan K. Mell
     REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST               1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                                Fircrest, WA 98466
                                                                                       253-566-2510 ph
                                        1                                          joan@3brancheslaw.com
             Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 6 of 18




 1          Here, dismissal under Yearsley is proper under Rule 12(b)(1) for similar reasons.
 2 Plaintiffs’ claim turns entirely on GEO’s administration of the VWP at NWDC: they claim that
 3
     they were (or are) participants in that program, that GEO pays $1 per day for such participation,
 4
     and that GEO violates the MWA by doing so.           In its Motion, GEO explained that these
 5
 6 allegations attack conduct that is directly authorized by ICE’s national policies and its contract
 7 for NWDC. Mot., 7-14. Just as the court in Tam considered internal agency documents without
 8
     converting the motion to dismiss into one for summary judgment, so too here: GEO’s Motion
 9
     relies on no disputed facts.
10
11          Plaintiffs’ argument that this Court cannot decide GEO’s motion under Rule 12 because

12 it is “inextricably intertwined” with the merits of the claim is simply wrong. See Opp., 6.
13
     GEO’s Yearsley defense does not require it to dispute any of Plaintiffs’ factual allegations—
14
     though GEO has done so—but only to show that its accused actions were validly authorized by
15
16 ICE. Mot., 7-14. That proof requires nothing but a consideration of governing law and the plain
17 terms of GEO’s contract. And because it is well-settled in Washington—as elsewhere—that
18 contract interpretation is a question of law, e.g., Paradise Orchards Gen. P’ship v. Fearing, 94
19
     P.3d 372, 377-78 (Wash. App. 2004), Plaintiffs’ claimed “factual disputes” are nothing but legal
20
     questions that can be decided under Rule 12(b)(1). See Cunningham v. Gen. Dynamics Info.
21
22 Tech., 888 F.3d 640, 643 (4th Cir. 2018) (affirming 12(b)(1) dismissal for derivative immunity).
23          B.      GEO Is Immune From This Suit Under Yearsley.
24
            GEO is immune from this suit because all of the actions that Plaintiffs allege violate the
25
     MWA were validly authorized by ICE. To qualify for immunity under Yearsley, a government
26
27 contractor must show (1) that the accused actions it took were authorized by the federal
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                      III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                           Joan K. Mell
     REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST               1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                                Fircrest, WA 98466
                                                                                       253-566-2510 ph
                                        2                                          joan@3brancheslaw.com
              Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 7 of 18




 1 government, and (2) that such authorization was validly conferred by the federal government.
 2 Mot., 6 (citing Cunningham, 888 F.3d at 646). A contractor’s derivative immunity embodies the
 3
     simple rule that when a contractor acts with valid authorization, “there is no liability on the part
 4
     of the contractor who simply performed as the Government directed.” Cunningham, 888 F.3d at
 5
 6 646 (quoting Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 673 (2016)) (quotations omitted).
 7 Instead, a contractor is only liable when it “violates both federal law and the Government’s
 8
     explicit instructions.” Id. at 647 (quoting Campbell-Ewald, 136 S. Ct. at 672 (emphasis added).
 9
             Here, derivative immunity bars Plaintiffs’ claim, and Plaintiffs failed to show otherwise.
10
11 First, GEO’s administration of the VWP at NWDC is expressly authorized by ICE. Under that
12 contract’s plain terms, GEO must administer a VWP that complies with the PBNDS. ICE-GEO
13
     Contract, ECF 19, 82. The PBNDS dictates that detainees must be paid at least $1 per day for
14
     participating. PBNDS 5.8.V.K. GEO complies with these provisions exactly: it offers a VWP
15
16 to detainees who then receive $1 per day for participating. Declaration of Ryan Kimble, ECF 97,
17 ¶¶ 1.12-1.28 (“Kimble Decl.”). ICE regularly reviews GEO’s VWP to ensure that GEO is doing
18 just that. Kimble Decl., ¶ 1.27. Consequently, GEO meets the first prong of the Yearsley test.
19
             Second, ICE validly conferred authority to administer the VWP on GEO. In 1950,
20
     Congress authorized appropriations for INS (now ICE) 1 “now and hereafter” for purposes that
21
22 included “payment of allowances … to aliens, while held in custody under the immigration laws,
23 for work performed.” 8 U.S.C. § 1555(d) (emphasis added). While Congress directed that the
24
     rate of such allowances “may be specified [by Congress] from time to time in the appropriation
25
26   1
      ICE inherited all INS functions relating to detention and removal as part of the Homeland Security Act of 2002.
27   See 6 U.S.C. §§ 251, 551; Reorganization Plan Modification For The Dep’t Of Homeland Sec., H.R. Doc. No. 108-
     32, at 3 (2003). This plainly covers the appropriations powers granted by 8 U.S.C. § 1555(d).
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                                     III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                                          Joan K. Mell
     REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST                              1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                                               Fircrest, WA 98466
                                                                                                      253-566-2510 ph
                                                3                                                 joan@3brancheslaw.com
             Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 8 of 18




 1 Act involved,” Congress has declined to specify any rate for decades. Congress’s decision not to
 2 specify a new rate does not undercut Section 1555. Indeed, the inclusion of the phrase “specified
 3
     from time to time” clearly signals that Congress did not intend for the rate to be specified in
 4
     every appropriation––if a new rate is not specified, it simply carries over.
 5
 6          This is exactly how ICE itself has always understood Section 1555. Tracey Valerio, who

 7 served as ICE’s Executive Associate Director until April of this year, used the $1 rate—
 8
     Congress’s most recent—in drafting budgets. See generally Valerio Decl. Congress approved
 9
     budgets based on this understanding. Id. ¶¶ 8-10. Consequently, reading Section 1555(d) to
10
11 require rate-setting in every appropriation not only renders the phrase “from time to time”
12 superfluous and nullifies “may” entirely, it is also completely incompatible with Congress’s
13
     approval of ICE’s budgets well beyond 1980. Thus, ICE validly conferred authority on GEO to
14
     administer the VWP at the rate set by Congress, and Yearsley’s second prong is satisfied.
15
16          This result comports exactly with the Fourth Circuit’s holding in Cunningham just a few

17 months ago. There, as here, the defendant’s contract with the federal government authorized it to
18 do something that allegedly violated the law. 888 F.3d at 647. But the Fourth Circuit held that
19
     the defendant was immune from suit: the first prong of the Yearsley test was satisfied because
20
     the defendant’s federal contract authorized the very practice that formed the basis of the
21
22 plaintiff’s complaint, and the second prong was satisfied because the federal government was
23 statutorily authorized to communicate the information to people like the plaintiff and could
24
     delegate that authority to the defendant. Id. Crucially, the Fourth Circuit found it irrelevant that
25
     the contractor could have complied with its contract and with federal law by performing its own
26
27 investigation, since the contract did not require it to do so. Id. Instead, the “purpose of Yearsley
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                          III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                               Joan K. Mell
     REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST                   1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                                    Fircrest, WA 98466
                                                                                           253-566-2510 ph
                                         4                                             joan@3brancheslaw.com
             Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 9 of 18




 1 immunity is to prevent a government contractor from facing liability for an alleged violation of
 2 law, and thus, it cannot be that an alleged violation of law per se precludes Yearsley immunity.”
 3
     Id. at 648-49. Yearsley applied even if performance of the contract did violate federal law; the
 4
     crucial fact was that the defendant did not violate both federal law and its contract. Id.
 5
 6          So too here. ICE’s contract authorizes GEO to operate a VWP, subject to the condition

 7 that detainees are paid at least $1 per day, and the limitation that GEO not pay in excess of $1
 8
     per day without ICE approval. ICE’s authority to contract for detention services is undisputed,
 9
     and, as explained above, Section 1555(d) gives DHS/ICE discretion to use its funds to pay
10
11 allowances to detainees for work performed. ICE has delegated administration of such a
12 program to GEO at NWDC, and detainees are paid for their participation from ICE’s federal
13
     appropriation through a pass-through trust account. Kimble Decl., ¶ 1.28. Consequently, GEO
14
     meets both prongs of the Yearsley immunity test, and the Court lacks subject matter jurisdiction.
15
16                  1.      Plaintiffs Fail To Show That GEO’s Actions Are Unauthorized.

17          Plaintiffs argue first that GEO’s administration of the VWP is not authorized by ICE

18 because ICE did not explicitly dictate that GEO should pay only $1 per day. Plaintiffs argue that
19
     GEO “attempts to convert the ‘reimbursement’ rate of $1 per day per worker that ICE agrees to
20
     pay GEO into a federal authorization for GEO to pay detained immigrants the same amount.”
21
22 Opp., 8. Plaintiffs also recite their argument that ICE’s contract merely sets a minimum VWP
23 payment and does not prevent GEO from paying detainees more than that amount. Opp., 9.
24
            These points are irrelevant because Yearsley requires a contractor to prove only that its
25
     actions were authorized by the federal government. As Cunningham makes clear, a federal
26
27 contractor that complies with the terms of its contract is immune from suit even if it might have
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                         III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                              Joan K. Mell
     REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST                  1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                                   Fircrest, WA 98466
                                                                                          253-566-2510 ph
                                         5                                            joan@3brancheslaw.com
            Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 10 of 18




 1 avoided an alleged violation of law by some further action. 888 F.3d at 647 (contractor’s
 2 requirement to “follow applicable laws” did not undercut immunity when it was not directed or
 3
     expected to take further steps to comply with federal law). GEO is authorized to administer the
 4
     VWP at NWDC under the precise terms that Plaintiffs allege violates state law. ICE-GEO
 5
 6 Contract, 82. Even if that contract merely sets a “floor” and not a ceiling—which it does not—
 7 that “floor” nonetheless authorizes GEO to do exactly what it has done: administer a VWP in
 8
     which detainees receive $1 per day. Valerio Dec. That is all that is needed to satisfy Yearsley.
 9
            Plaintiffs’ argument that ICE’s contract subjects the VWP to “applicable state and local
10
11 labor laws and costs [sic],” Opp., 8, does not change this outcome because it relies on an
12 impossible construction of ICE’s contract. The provision Plaintiffs cite is not part of the VWP
13
     provision and does thus not establish that any state labor laws are applicable to the VWP, and
14
     many other terms of the contract make such a conclusion impossible. In the VWP provision
15
16 itself, ICE distinguishes between VWP participants and employees. ICE-GEO Contract, 82.
17 Since VWP participants are not employees, the MWA is not an “applicable state … labor law[]”
18 with respect to detainees, even if it may be applicable to GEO’s employment of corrections
19
     officers, wardens, and the like. ICE’s contract also expressly incorporates the PBNDS, which
20
     subject the VWP only to “state and local work safety laws and regulations.” PBNDS, 5.8.II.5
21
22 (emphasis added); see also id. at 5.8.V.N (identifying specific laws and regulations). The
23 PBNDS’s inclusion of specific codes shows exactly what laws ICE considers to be “applicable”
24
     to the VWP, and they do not include state minimum wage laws. Indeed, the payment of “at least
25
     $1 per day” is inconsistent with any state minimum wage anywhere and ICE would have notified
26
27 GEO it was underpaying if ICE intended minimum wage to apply. See Kimble Decl., ¶¶ 1.27.
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                       III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                            Joan K. Mell
     REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST                1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                                 Fircrest, WA 98466
                                                                                        253-566-2510 ph
                                        6                                           joan@3brancheslaw.com
             Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 11 of 18




 1          ICE’s contract not only prohibits GEO from employing unauthorized aliens but also
 2 requires GEO’s employees to be lawful permanent residents for at least five years. ICE-GEO
 3
     Contract, 63. That limitation excludes all detainees from being GEO’s employees. See GEO’s
 4
     Mot. to Deny Class Certification, ECF 69, 3-8, Valerio Decl. Thus, there is no reading of the
 5
 6 contract that requires GEO to comply with “state and local labor laws and codes” with respect to
 7 detainees who participate in the VWP. Violating both the contract terms and the MWA are
 8
     necessary to avoid Yearsley immunity. See Cunningham, 888 F.3d at 647. Thus, Plaintiffs’
 9
     claim is barred.
10
11          Plaintiffs’ attempts to distinguish Cunningham also fail. They argue that GEO is not like

12 the contractor in Cunningham because here “the federal government has not set, authorized, or
13
     approved a specific rate of pay for GEO to compensate detained immigrants at the NWDC.”
14
     Opp., 10. This claim is simply untrue. ICE requires GEO to administer a VWP that complies
15
16 with the PBNDS, which authorizes any pay rate that is “at least $1 per day.” PBNDS 5.8.V.K.
17 ICE pays $1 per day in its own facilities, and the cost is linked to ICE’s federal appropriation.
18 Valerio Decl. ¶¶ 8-10. Thus, the federal government has authorized the $1 pay rate at NWDC.
19
     Plaintiffs themselves allege that GEO “pays each detainee worker only $1 per day.” First Am.
20
     Compl., ECF 84, ¶ 4.7. Thus, GEO complies with the federal government’s authorization.
21
22          Plaintiffs’ sole Ninth Circuit case is irrelevant because it predates the Supreme Court’s

23 decision in Campbell-Ewald. See Opp., 10 (citing Cabalce v. Thomas E. Blanchard & Assocs.,
24
     Inc., 797 F.3d 720 (9th Cir. 2015)). In Campbell-Ewald, the Supreme Court criticized the Ninth
25
     Circuit’s construction of Yearsley as too narrow and emphasized that Yearsley considers only
26
27 whether “the contractor’s performance [is] in compliance with all federal directions.” 136 S. Ct.
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                     III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                          Joan K. Mell
     REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST              1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                               Fircrest, WA 98466
                                                                                      253-566-2510 ph
                                       7                                          joan@3brancheslaw.com
            Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 12 of 18




 1 663, 673 n.7. In Campbell-Ewald, the Supreme Court agreed that Yearsley did not apply because
 2 the plaintiff presented evidence that the defendant violated its federal directions. Id. at 673-74.
 3
     Plaintiffs have not credibly claimed that GEO violated ICE’s directions. And Ninth Circuit case
 4
     law predating Campbell-Ewald is not good law to the extent it conflicts with Campbell-Ewald.
 5
 6          Salim v. Mitchell, 268 F. Supp. 3d 1132 (E.D. Wash. 2017) is easily distinguishable. The

 7 plaintiffs asserted tort claims against two independent contractors who had helped design an
 8
     interrogation program that amounted to torture. Id. at 1135-36. The district court found the
 9
     Yearsley the defense could not be settled on summary judgment because the evidence tended to
10
11 show that the defendants designed the program and encouraged the CIA to adopt it. Id. at 1149-
12 50. Here, the plain terms of GEO’s contract with ICE explicitly authorize—and even require—
13
     GEO to administer the VWP in compliance with ICE’s own PBNDS. Plaintiffs have never
14
     alleged that GEO acts or acted contrary to ICE’s direction; their theory is that following ICE’s
15
16 standards violates the MWA. That theory brings their claim squarely within Yearsley.
17                  2.     Plaintiffs Fail To Show That GEO’s Authorization Was Invalid.
18          Like their attack on GEO’s authorization to administer the VWP, Plaintiffs’ attack on
19
     ICE’s ability to validly authorize administration of the VWP relies on an impossible reading of
20
     federal law. They argue that ICE cannot have “validly conferred” authorization on GEO to
21
22 administer the VWP because Congress kept for itself “the question of how much to pay
23 [detainees].” Opp., 12-15. They infer that ICE has no discretion to set rate of pay. Id. at 13-15.
24
            The statutory language could hardly be clearer: “Appropriations now or hereafter
25
     provided for the Immigration and Naturalization Service shall be available for . . . (d) payment of
26
27 allowances (at such rate as may be specified from time to time in the appropriation Act involved)
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                       III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                            Joan K. Mell
     REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST                1019 Regents Blvd. Ste. 204
     AMENDED COMPLAINT                                                                 Fircrest, WA 98466
                                                                                        253-566-2510 ph
                                        8                                           joan@3brancheslaw.com
             Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 13 of 18




 1 to aliens, while held in custody under the immigration laws, for work performed[.]” 8 U.S.C. §
 2 1555(d). Thus, “now and hereafter,” Congress authorizes appropriations to INS (and now ICE)
 3
     to be available for payment of allowances for detainee work. Congress “may” specify a rate
 4
     “from time to time” in its appropriation acts. Id. (emphasis added). Thus, ICE may and did use
 5
 6 its appropriated to pay allowances to detainees at the most recent rate set by Congress.
 7          Congress’s 1980 appropriations bill shows this principle in full force. While Congress
 8
     specified an allowance rate in its 1979 appropriation, it did not do so in 1980, instead omitting all
 9
     mention of detainee allowances. Compare Dep’t of Justice Appropriations Act, 1979, Pub. L.
10
11 No. 95-431, 92 Stat. 1021, 1027 (Oct. 10, 1978) ( “payment of allowances (at a rate not in excess
12 of $1 per day) to aliens”) with Dep’t of Justice Appropriations Act, 1980, Pub. L. No. 96-68, 93
13
     Stat. 416 (Sept. 24, 1979). Were Plaintiffs correct that Congress’s decision to not specify a rate
14
     means that ICE has no discretion to spend appropriated funds under Section 1555, then the
15
16 language allowing ICE to use its appropriations for the purpose of paying allowances would be
17 meaningless: since 1980, INS/ICE had authority to use its appropriations to pay allowances to
18 detainees but could not do so because Congress had not established a rate for them. That is not a
19
     plausible reading of Section 1555 or of Congress’s appropriations acts. Valerio Decl. ¶¶ 4-10.
20
            The only possible interpretation of these laws is that Congress has the ability to revise the
21
22 authorized allowance rate at its discretion, which it may exercise “from time to time.” Here, that
23 rate is “not in excess of $1 per day.” See 92 Stat. 1021, 1027. GEO is specifically instructed not
24
     to exceed the $1 per day threshold without ICE’s consent. ICE-GEO Contract, 16. Thus, ICE
25
     has validly conferred on GEO the authority to administer the VWP at a rate of $1 per day.
26
27          Finally, to the extent Plaintiffs allege that their claim can survive Yearsley because VWP

28   NWAUZOR et al. v. THE GEO GROUP, INC.                                         III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                              Joan K. Mell
     REPLY IN SUPPORT OF GEO’S MOTION TO DISMISS PLAINTIFFS’ FIRST                  1019 Regents Blvd. Ste. 204
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                                                                                          253-566-2510 ph
                                         9                                            joan@3brancheslaw.com
             Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 14 of 18




 1 payments are different at other facilities, that argument fails. See Opp., 5 n.3, Exhs. A-C.
 2 Yearsley applies when a defendant’s accused conduct complied with the government’s direction.
 3
     Campbell-Ewald, 136 S. Ct. at 673 & n.7; Cunningham, 888 F.3d at 647 (noting that a contractor
 4
     is not immune when it “violates both federal law and the Government’s explicit instructions”)
 5
 6 (emphasis added). Assuming arguendo that Plaintiffs’ evidence shows that VWPs may work
 7 differently at other facilities, such differences show only that ICE exercises discretion when it
 8
     authorizes VWPs. But ICE’s decision to authorize other practices at other facilities simply has
 9
     no bearing on whether GEO is immune from this suit arising from the VWP at NWDC.
10
11 II.      GEO’S REMAINING ARGUMENTS DESERVE CONSIDERATION.
12          Plaintiffs do not meaningfully respond to any of the remaining arguments GEO raised in
13 its Motion. See Opp., 15-17. Instead, they argue that the Court’s rulings on a superseded
14
     complaint are “law of the case” and attempt to incorporate prior briefs. Id. The first contention
15
16 is plainly wrong, and the second is inappropriate. GEO was entitled to move to dismiss on all
17 grounds that apply to this case, and it is entitled to the Court’s consideration of each.
18          A.      GEO’s Defenses Are Not Barred By Law Of The Case.
19
            An amended complaint supersedes the original complaint. Barnes v. Sea Hawaii Rafting,
20
     LLC, 889 F.3d 517, 531 (9th Cir. 2018). Here, this Court has issued no order that the FAC has
21
22 stated a claim on which relief may be granted. See, e.g., Janis v. United States, 2011 WL
23 4738315, at *2 (E.D. Cal. Oct. 6, 2011) (amended complaint mooted prior allegations and thus
24 any rulings as to whether a claim had been stated). Absent an express entry of a final judgment,
25
     all orders of a district court are “subject to reopening at the discretion of the district judge.” Cf.
26
27 Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 12 (1983); Fed. R. Civ. P.
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                          III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                               Joan K. Mell
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            Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 15 of 18




 1 54(b). The Court’s interlocutory orders do not become law of the case, and the Court can decide
 2 the novel issues presented here on different grounds. See, e.g., Rezek v. City of Tustin, 2014 WL
 3
     3347860, at *2 (C.D. Cal. July 3, 2014). GEO’s dismissal arguments deserve consideration here.
 4
            B.     Plaintiffs’ Claim Is Preempted.
 5
 6          In its prior Order, this Court held that Plaintiffs’ claim could continue because Congress

 7 had not occupied the field of detainee wages. Order, ECF 28, at 9. The proper field of
 8
     regulation is detainee employment, Mot. 14-16, which Congress regulates. 8 U.S.C. § 1324a.
 9
     IRCA’s regulations show that work authorization terminates when removal proceedings are
10
11 instituted and that lawful permanent resident status terminates when a final removal order issues.
12 8 C.F.R. §§ 274a.14, 1001.1(p). Thus, detainees at NWDC are categorically unauthorized to
13 work. That result, coupled with Congress’s explicit authorization of allowances—not wages—to
14
     detainees, 8 U.S.C. § 1555(d), shows that Congress has occupied the field of detainee
15
     employment and left no room for state law to establish an employment relationship here.
16
17          This Court also held that conflict preemption was premature because it relied on factual

18 determinations regarding detainees’ work authorization. Order, 12. However, applying state
19
     wage law here would raise an unavoidable conflict with or obstacle to IRCA because detainees
20
     are all without work authorization. Mot. 16-18. Plaintiffs do not allege or show otherwise .
21
22          C.     Plaintiffs Have Stated No Claim Under The MWA.

23          This Court previously held that the MWA can apply to federal immigration detainees
24 because the MWA includes no express exemption that covers them. Order, 13-14. GEO’s
25
     Motion explains that the MWA’s existing exemptions for people detained in state facilities,
26
     coupled with the State’s failure to take any action to enforce the MWA against GEO regarding
27
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                      III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                           Joan K. Mell
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              Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 16 of 18




 1 the VWP, show that the MWA, like the FLSA, was not intended to apply here. Mot. 18-20.
 2           D.       ICE Is Indispensable To This Case.
 3
             The Court previously held that ICE was not a required party to this case because the case
 4
     could “arguably” result in “harmony between GEO’s contractual obligation and complying with
 5
 6 the MWA.” Joinder Order, ECF 67, 3-8. But if this Court finds that detainees at NWDC are
 7 GEO’s employees, then GEO likely cannot comply with its duty to administer the VWP and its
 8
     prohibitions on employing detainees or unauthorized aliens. Compare ICE-GEO Contract, 82
 9
     (VWP required) with id. at 63 (employing aliens prohibited).2                    Similarly, GEO’s contract
10
11 mandates that “Detainees shall not be used to perform the responsibilities or duties of an
12 employee of the Contractor.” Id. at 82. If detainees become GEO’s employees by participating
13 in the VWP, compliance with this requirement is rendered impossible. The Court held that this
14
     problem “appear[ed] to be beyond the issues raised by the Complaint,” Joinder Order, 8, which,
15
     respectfully, does not explain how a judgment in Plaintiffs’ favor can avoid subjecting GEO to
16
17 inconsistent obligations. Finally, the Court held that even were ICE a required party, the case
18 could continue justly without joining it. Id. at 9-10. But this case is just like EEOC v. Peabody
19
     Western Coal Co., 610 F.3d 1070 (9th Cir. 2010), in which the Ninth Circuit dismissed a claim
20
     against a private lessee when plaintiffs sought damages for its compliance with a provision in its
21
22 lease that the federal government had required. Mot. 24. Plaintiffs’ claim is no different.
23                                                 CONCLUSION
24           The Court should grant GEO’s Motion and dismiss this case with prejudice.
25
26   2
      This is consistent with the federal prohibition on ICE both from using appropriated funds to pay, and from hiring,
27   non-citizens as federal employees, without granting a specific exception. See Exec. Order No. 11935, 41 Fed. Reg.
     37,301 (Sept. 2, 1976); DHS Management Directive 3120.2, Employment of Non-Citizens (Mar. 22, 2004).
28   NWAUZOR et al. v. THE GEO GROUP, INC.                                                     III BRANCHES LAW, PLLC
     ECF CASE NO. 3-17-cv-05769                                                                          Joan K. Mell
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           Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 17 of 18




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28   NWAUZOR et al. v. THE GEO GROUP, INC.                             III BRANCHES LAW, PLLC
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             Case 3:17-cv-05769-RJB Document 104 Filed 07/20/18 Page 18 of 18




 1                                      CERTIFICATE OF SERVICE
 2          I, Joseph Fonseca, hereby certify as follows:
 3
            I am over the age of 18, a resident of Pierce County, and not a party to the above action. On July
 4
     20, 2018, I electronically filed the above GEO’s Reply In Support of Its Motion to Dismiss Plaintiffs’
 5
     First Amended Complaint, with the Clerk of the Court using the CM/ECF system and served via Email
 6
     to the following:
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            I certify under penalty of perjury under the laws of the State of Washington that the above
23
     information is true and correct.
24
25          DATED this 20th day of July, 2018 at Fircrest, Washington.

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27          Joseph Fonseca, Paralegal
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     ECF CASE NO. 3-17-cv-05769                                                            Joan K. Mell
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